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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                               :
UNITED STATES OF AMERICA                       :       Case No.: 24-CR-106 (JEB)
                                               :
          v.                                   :       18 U.S.C. § 111(a)(1)
                                               :
TROY KOEN,                                     :
                                               :
          Defendant.                           :
                                               :

                                  STATEMENT OF OFFENSE

          Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,

the United States Attorney for the District of Columbia, and the defendant, Troy Koen, with the

concurrence of the defendant’s attorney, agree and stipulate to the below factual basis for the

defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate that the

United States could prove the below facts beyond a reasonable doubt:

                         The Attack at the U.S. Capitol on January 6, 2021

          1.     The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol

include permanent and temporary security barriers and posts manned by USCP. Only authorized

people with appropriate identification are allowed access inside the Capitol.

          2.     On January 6, 2021, the exterior plaza of the Capitol was closed to members of the

public.

          3.     On January 6, 2021, a joint session of the United States Congress convened at the

Capitol. During the joint session, elected members of the United States House of Representatives

and the United States Senate were meeting in separate chambers of the Capitol to certify the vote

count of the Electoral College of the 2020 Presidential Election, which had taken place on Tuesday,

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November 3, 2020. The joint session began at approximately 1:00 PM. Shortly thereafter, by

approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a

particular objection. Vice President Mike Pence was present and presiding, first in the joint session,

and then in the Senate chamber.

       4.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.

Temporary and permanent barricades, as noted above, were in place around the exterior of the

Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol

and the proceedings underway inside.

       5.      At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd

advanced to the exterior façade of the building. Officers with the D.C. Metropolitan Police

Department were called to assist officers of the USCP who were then engaged in the performance

of their official duties. The crowd was not lawfully authorized to enter or remain in the building

and, prior to entering the building, no members of the crowd submitted to security screenings or

weapons checks as required by USCP officers or other authorized security officials.

       6.      At such time, the certification proceedings were still underway, and the exterior

doors and windows of the Capitol were locked or otherwise secured. Members of the USCP

attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after

2:00 p.m., individuals in the crowd forced entry into the Capitol, including by breaking windows

and by assaulting members of law enforcement, as others in the crowd encouraged and assisted

those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more

than $2.9 million dollars for repairs.



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       7.     Shortly thereafter, at approximately 2:20 p.m., members of the House of

Representatives and of the Senate, including the President of the Senate, Vice President Pence,

were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United

States Congress, including the joint session, were effectively suspended until shortly after 8:00

PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to

the Capitol—including the danger posed by individuals who had entered the Capitol without any

security screening or weapons check—Congressional proceedings could not resume until after

every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that

the building was secured. The proceedings resumed at approximately 8:00 PM after the building

had been secured. Vice President Pence remained in the Capitol from the time he was evacuated

from the Senate Chamber until the session resumed.

              The Defendant’s Participation in the January 6, 2021, Capitol Riot

       8.     On January 6, 2021, KOEN marched to the U.S. Capitol Grounds and joined a

group of rioters who attempted to violently push their way past law enforcement officers on the

west front of Capitol grounds.

       9.     The United States Capitol Police (USCP) and Metropolitan Police Department

(MPD) had formed a police line on the west front demarcated with officers and bike racks.




       10.    The police line held the rioters back as officers attempted to contain the crowd and

keep them away from the Capitol building. The crowd of rioters became increasingly agitated and

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aggressive at the police officers. Rioters approached the bike rack barriers and attempted to pull

them away. Rioters used various forms of weapons against the officers to break the police line.

       11.     By this time, KOEN had made his way to the very front of the large crowd of rioters

on the northwest side of the West Plaza. KOEN approached the police line, grabbed a bike rack

with his hands, and aggressively yanked the barricade away from the police officers. A violent

struggle ensued between the police officers and the rioters as the two sides fought to gain control

of the barrier. The rioters successfully removed the bike rack, creating a vulnerability in the police

line, and passed the barricade back into the crowd of rioters and away from the police officers.




       12.     After KOEN and others removed the first barricade from the police line, KOEN

turned around, yelled to the crowd of rioters, and pointed at the police officers.



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           13.   KOEN then reapproached the police line, lanced forward, and took hold of another

police barricade. A second struggle ensued between the police officers and the rioters. Police

officers used their physical strength, batons, and chemical irritants in an attempt prevent the rioters

from removing the barricade, but the officers were ultimately overpowered by KOEN and the

rioters.




           14.   As KOEN and others violently seized the second barricade from the police line and

passed it back into the crowd of rioters, a police officer was knocked forward and dragged down

onto the ground by a different rioter.




           15.   After rioters on the West Plaza created vulnerabilities across the police line, the

mob successfully overpowered and overran the police line. The police officers called a retreat and


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quickly retreated to the Lower West Terrace and congregated in the LWT tunnel at the center of

the Lower West Terrace.

       16.     As officers retreated into the tunnel while coughing, vomiting, and showing visible

effects from the riot on the West Plaza, rioters—including KOEN—ascended to the Lower West

Terrace. KOEN approached the Lower West Terrace tunnel holding a large, white pole with two

flags attached. One flag said “TRUMP 2020” and the other was a Confederate flag.




       17.     After the officers retreated into the tunnel through two sets of double glass doors,

the officers closed and locked the first set of double doors. The officers closed the second set of

doors, which did not lock. At 2:41 p.m., almost immediately after the doors were secured, rioters—

KOEN included—flooded into the tunnel.




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       18.     Officers formed a line behind the second set of double doors. As rioters flooded

into the tunnel, a rioter screamed, “Give us space! Give us space! We're going to break the door

down!” and “Backup! Backup! Backup! We need to break that door down!”

       19.     With the flagpole in hand, KOEN made his way through the crowd and to the front

of the pack of rioters. The rioters faced the closed double glass doors that served as a barrier to

their entrance to the Capitol building.




       20.     A police officer inside the tunnel commanded, “We are not losing the U.S. Capitol

today!” Officers barricaded their bodies inside the tunnel immediately behind the second set of

doors. Loud banging could be heard on officers’ body worn camera footage. The police officers

cracked open the second set of double doors to account for the noise. One rioter bashed the glass

door with an unknown object in his hand at the same time that KOEN lifted his flagpole above his

shoulder and began to jab the flagpole into the glass. The glass door shattered as KOEN continued

to jab his flagpole through it, which allowed the rioters to reach through the broken glass and open

the door.




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       21.     KOEN then disassembled the flagpole into two separate pieces.




       22.     The rioters immediately started to push against the officer line. Officers inside the

tunnel yelled, “HOLD THE LINE!” as the onslaught continued. KOEN remained at the forefront

of a group and quickly started to use two flagpoles to repeatedly jab the flagpoles into the officers.




                                                  23.




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       24.     As officers held their ground, rioters continued the violent attack; rioters used their

collective body weight to push against the officer line, hit the officer line with batons and flag

poles, and sprayed chemical irritant into the tunnel. KOEN remained at the forefront of the

violence.




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       25.     KOEN exited the tunnel at 2:47 p.m. without the flagpoles in hand.
                                      Elements of the Offense

       26.     The parties agree that 18 U.S.C. § 111(a)(1) requires the following elements:

       27.     First, the defendant assaulted, resisted, opposed, impeded, intimidated, or

interfered with an officer and employee of the United States, and of any branch of the United

States Government (including any member of the uniformed services), and any person assisting

such an officer and employee.

       28.     Second, the defendant did such acts forcibly.

       29.     Third, the defendant did such acts voluntarily and intentionally.

       30.     Fourth, the officers that the defendant assaulted were employees of the United

States who were then engaged in the performance of their official duties or assisting officers of

the United States who were then engaged in the performance of their official duties.

       31.     Fifth, the defendant made physical contact with those officers and acted with the

intent to commit another felony. For purposes of this element, “another felony” refers to the

offenses charged in Count One, Civil Disorder.


                                  Defendant’s Acknowledgments

       32.     TROY KOEN knowingly and voluntarily admits to all the elements of 18 U.S.C.

§ 111(a). Specifically, KOEN admits that he voluntarily and intentionally forcibly assaulted

officers designated in 18 U.S.C. § 1114 while engaged in or on account of the performance of their

official duties. KOEN further admits that he knew at that time of the assault of the officers that the

officers were engaged in the performance of their official duties or that he assaulted the officer on

account of their performance of their official duties. KOEN admits that when he assaulted officers,




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he made physical contact and that he committed these acts with the intent to commit another

felony, that is, Civil Disorder, in violation of 18 U.S.C. § 231.


                                                      Respectfully submitted,

                                                      MATTHEW M. GRAVES
                                                      United States Attorney
                                                      D.C. Bar No. 481052


                                               By:    __________________________
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                         DEFENDANT’S ACKNOWLEDGMENT


       I, Troy Koen, have read this Statement of the Offense and have discussed it with my
attorney. I fully understand this Statement of the Offense. I agree and acknowledge by my
signature that this Statement of the Offense is true and accurate. I do this voluntarily and of my
own free will. No threats have been made to me nor am I under the influence of anything that could
impede my ability to understand this Statement of the Offense fully.


Date: 9/13/2024
                                      Troy Koen
                                      Defendant


                          ATTORNEY’S ACKNOWLEDGMENT


       I have read this Statement of the Offense and have reviewed it with my client fully. I concur
in my client’s desire to adopt this Statement of the Offense as true and accurate.



Date: 9/13/2024
                                      Elizabeth Mullin
                                      Attorney for Defendant




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